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                                                                                   2022 Aug-30 AM 09:54
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

FORESTDALE PLAZA, LLC,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues FORESTDALE PLAZA, LLC, for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA      FENDLEY         (hereinafter   referred   to   as

“FENDLEY”) is a resident of Warrior, Alabama and is a qualified individual with a

disability under the ADA. FENDLEY suffers from what constitutes a “qualified

disability” under the Americans with Disabilities Act of 1990, (“ADA”) and all other

applicable Federal statutes and regulations to the extent that she suffers from

paraplegia and requires a wheelchair for mobility. Prior to instituting the instant

action, FENDLEY visited the Defendant’s premises at issue in this matter numerous

times, and was denied full, safe and equal access to the subject properties due to their

lack of compliance with the ADA. FENDLEY continues to desire and intends to

visit the Defendant’s premises but continues to be denied full, safe and equal access

due to the barriers to access that continue to exist.

      4.      The Defendant, FORESTDALE PLAZA, LLC, is a domestic limited

liability company registered to do business and, in fact, conducting business in the

State of Alabama. Upon information and belief FORESTDALE PLAZA, LLC,

(hereinafter referred to as “FP”) is the owner, lessee and/or operator of the real

property and improvements that are the subject of this action, specifically: Forestdale

Plaza located at 1608-1640 Foresdale Blvd, Birmingham, Alabama (hereinafter

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referred to as the "Shopping Center").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Shopping

Center owned by FP is a place of public accommodation in that it is a retail shopping

center operated by a private entity that provides goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Shopping Center in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Shopping Center owned by

FP. Prior to the filing of this lawsuit, Plaintiff personally and regularly visited the

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Shopping Center at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Shopping Center, but continues to be injured in that she is unable to and

continues to be discriminated against due to the barriers to access that remain at the

Shopping Center in violation of the ADA. FENDLEY has now and continues to

have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s, deliberate and knowing violations of the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    FP is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302 et

seq. and is discriminating against the Plaintiff as a result of inter alia, the following

specific violations that Plaintiff personally encountered:

             i.     None of the parking spaces bearing some indicia of
                    accessibility are designated as accessible with raised signage;

             ii.    The two parking spaces bearing some indicia of accessibility in
                    front of Acceptance Auto Insurance (Suite 1634) have cross and
                    running slopes that are too steep for a wheelchair user;


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             iii.   There is a built-up curb ramp located in the access aisle serving
                    the parking spaces bearing some indicia of accessibility at
                    Acceptance Auto Insurance (Suite 1634) that has running and
                    cross slopes that are too steep for a wheelchair user, and also
                    cause the access aisle to have excessive slopes as indicated in
                    the foregoing paragraph;

             iv.    The curb ramp located in front of Mexicana Teresita (Suite
                    1630) is located in the access aisle of the parking space bearing
                    some indicia of accessibility such that the access aisle is not
                    level as required by a wheelchair user, and the curb ramp and
                    has running and cross slopes that are too steep for a wheelchair
                    user;

             v.     The curb ramp located in front of the Bingo Hall is located in
                    the access aisle serving the parking space that bears some
                    indicia of accessibility and has running and cross slopes that are
                    too steep for a wheelchair user, and causes the access aisle to be
                    too steep for a wheelchair user as well;

             vi.    Where the parking lot intersects the sidewalk at Drol Boutique
                    & Salon, there is an abrupt change in level of greater than ½”
                    that is not beveled as necessary for a wheelchair user to access
                    the sidewalk. Further, the route to the entry of Drol Boutique
                    and Salon, by way of the sidewalk, is too narrow for a
                    wheelchair user due to overgrown bushes.

      12.    There are other current barriers to access and violations of the ADA at

the Shopping Center owned and operated by FP that were not specifically identified

herein as the Plaintiff is not required to engage in a futile gesture pursuant to 28

C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed by

Plaintiff or Plaintiff’s representatives can all said violations be identified.


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      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

FP was required to make its Shopping Center, a place of public accommodation,

accessible to persons with disabilities by January 28, 1992. To date, FP has failed

to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against FP and requests the

following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;


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           B.    That the Court enter an Order directing Defendant to alter
                 its facilities to make them accessible to and useable by
                 individuals with disabilities to the full extent required by
                 Title III of the ADA;

           C.    That the Court enter an Order directing Defendant to
                 evaluate and neutralize its policies and procedures towards
                 persons with disabilities for such reasonable time so as to
                 allow them to undertake and complete corrective
                 procedures;

           D.    That the Court award reasonable attorney’s fees, costs
                 (including expert fees) and other expenses of suit, to the
                 Plaintiff; and

           E.    That the Court award such other and further relief as it
                 deems necessary, just and proper.

     Dated this 29th day of August, 2022.

     Respectfully submitted,

                                            By: /s/ Edward I. Zwilling
                                            Edward I. Zwilling, Esq.
                                            AL State Bar No.: ASB-1564-L54E
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